                       Case 5:22-cv-00752-F Document 26-6 Filed 06/01/23 Page 1 of 2




From:                                     Franz, Michael <Michael.Franz@lewisbrisbois.com>
Sent:                                     Tuesday, November 22, 2022 3:45 PM
To:                                       Joanna Butterworth; Jerry Pignato
Cc:                                       Matt Kane; Sarah Ramsey; Daniel Webber; Schrag, Jeremy; Rodney Stewart;
                                          ddozier@stewartlaw.com
Subject:                                  RE: Farmers Mutual v HL Motor Group


We do not have any medical records for our client but have subpoenaed records and will disclosed them upon receipt.

Thanks,

                                                 Michael T. Franz
                                                 Partner
                                                 Michael.Franz@lewisbrisbois.com

                                                 T: 312.463.3329 F: 312.345.1778

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delete this email and any attachment from your computer and any of your electronic devices where the message is stored.
From: Joanna Butterworth <jbutterworth@ryanwhaley.com>
Sent: Tuesday, November 22, 2022 12:38 PM
To: Franz, Michael <Michael.Franz@lewisbrisbois.com>
Cc: Jerry Pignato <jerry@ryanwhaley.com>; Matt Kane <mkane@ryanwhaley.com>; Sarah Ramsey
<SRamsey@ryanwhaley.com>; Daniel Webber <dgw_attorney@outlook.com>; Schrag, Jeremy
<Jeremy.Schrag@lewisbrisbois.com>; rstewart@rstewartlaw.com; ddozier@stewartlaw.com
Subject: [EXT] Farmers Mutual v HL Motor Group

From Jerry Pignato –

Mr. Franz,

Thank you for providing us with your client’s Rule 26 Initial Disclosures in the above case. You provided a number of
insurance documents, but no medical records were provided. Do you have any medical records that address your client’s
contention he blacked out at the time of the accident? If so, I would greatly appreciate receiving copies of those records.
Please let me know. Thank you.

Jerry




                                                                          1


                                                              EXHIBIT 6
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                              Gerard F. Pignato
                              Attorney
                               o: 405.239.6040
                              m: 405.306.9861
                              400 North Walnut Avenue
                              Oklahoma City, OK 73104
                              jerry@ryanwhaley.com

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